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IN THE UNITED STATES DIS'I`RICT COURT
F()R THE N()RTHERN DIS'I`RICT OF TEXAS

SETH CRAWFORD

Plaintiff,

V.

STATE FARM LLOYDS
Defendant.

CO'DWJOOSCMLO'DGO'§DO'S

FORT WORTH DIVISION

CIVIL ACTION NO. 4:16-ev-986~O

JOINT MOTION FOR STIPULATION OF BISMISSAL

Pursuant to Rule 41(3)(1)(A)(ii) of the Federal Rules of Civil Procedure, the parties

stipulate that this matter is voluntarily dismissed Without prejudice. The parties further stipulate

that costs be assessed against the party incurring Same.

Respectfully submitted,

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Stipuiation of Dismissal
May 24, 2017
Page 2

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Frorn: Chris Stoy cstoy@hsjtzstice.com
Subject: Fle: Crawford v SF- stipulation of dismissal
Date: |V|ay 22, 2017 at 1138 PM
To: Richard South rsouzn@w-g.corn
Cc: i_izz Washburn iwash£')urn@W-g_oorn

 

Riehard -
l'm good with this. You fine signing with my permission and ii|ing?

Chris Stoy

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On Niay 45, 2017, at 10:18 ANl. Richard South <zsouth@w-g.com> wrote:

Chris- please review. | think this is all we aeed. |f you think otherwise please advise. | do not believe it needs an order under the rule. As we
discussedl State Farm will agree to this stipulation provided any sdbsequent action be filed in federal court for the Northern District of Texas
assuming the jurisdictional amount is satisfied

§§charc| Wi South
Board Certitied. Persona| injury Tria| Law
Texas Board of i_ega| Specia|ization

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